                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                               October 22, 2015
                              No. 10-15-00101-CV
                       IN THE INTEREST OF J.T., A CHILD
                                       
                                       
                        From the 74[th] District Court
                            McLennan County, Texas
                          Trial Court No. 2013-2639-3
                                       
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JUDGMENT

	This Court has reviewed the briefs of Ashley Tindall and the Texas Department of Family and Protective Services and the record in this proceeding as relevant to the issues raised and finds no reversible error has been presented.  This Court has also considered the Anders brief and the record as relevant to William Kent.  It is the judgment of this Court that the trial court's judgment signed on March 3, 2015 is affirmed.
	It is further ordered that the Texas Department of Family and Protective Services is awarded judgment against William Kent and Ashley Tindall jointly and severally for the appellate costs that were paid, if any, by the Texas Department of Family and Protective Services; and all unpaid appellate court costs, if any, are taxed against William Kent and Ashley Tindall.
A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
						PER CURIAM
		     SHARRI ROESSLER, CLERK			

		     By: ___________________________
			     Nita Whitener, Deputy Clerk

